 Case 2:19-cv-03843-CDJ Document 5 Filed 09/18/19 Page 1 of 1




                      IN TUE UNITED STA'fES DlSTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSVI, VANIA

DONNELL MITCHELL                                              CIVIL ACTlON

                       Plaintiff,                             NO: 2: 19-CV-03843
                       \',
NA'tJONAL RAfLROAD PASSENGER
COltP. a/k!a "AMI'RAK"                                        JOINT STIPULATION
              And
JENNIFER HAKEN-LAFTY
c/o hJA TIONAL RAILROAD
PASSENGER CORPORATION, a/k/a
"AMTRAK"
           And
MAR.IA FAULKNER
                                                                         FILED
c/o NATIONAL RAJLROAD                                                    SEP 18 2019
PAS6ENG~'R CORPORA TlON. a/k/a
                                                                      KATE BARYJ.W·!. Clem
"AMTRAK"                                                            By              C' .::. c:~rn
          And
ANGELA SCHlA VEL.LO
do ~ATlONAL RAILROAD
PASSENGER CORPORAHON, a!k/a
'·AMTRAK"
                       Defendants.


                    JOIN! STIPULATION FOR EXTENSION OF TIME
       IT IS HEREBY STIPULATED by and between the parties hereto thtOLtgh their
resp$ctiv:e attotneys that Defendants shaU have until October 31 8\ 2019, forty-five (45) day,,;
from the acceptance of service, to answer or otherwise respond to Plaintiffs cainplaJnt.

       DUFF\' NORTH
                                                                                     ' ,PC.

BY:    f?yJtJ                  DATE•   of.. f1~       BY:                              .ATE:oqln:I UP\9
      {fo-s~   S. Gan , sq.            -lf-/                                           Es:q.
       104 N. York Road
       Hatboro, PA f9040
       Attomey for Plaintiff




                                                                                                          J.
